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                                         #:3964
                                                                               4/30/25

                     JAMS
                        S CASE
                             E REFERENCE
                                       E NO. 1210040394
                                                      4                        V. Figueroa




                USDC
                   C CASE
                        E NO. CV
                               V 24-5205
                                       5 FMO
                                           O (MAAx)) (C.D.. Cal.))


 Jacquelyn “Jackie” Lacey, et al.

       Plaintiff,

              v.

 State Farm General Insurance Company.,

       Defendant.
 ______________________________________________


               ORDER
                   R RE:: MOTIONS
                                S SCHEDULE
                                         E (Dockett # 107,, 110)

        1.    During our hearing today, the parties agreed on an updated briefing
 and hearing schedule for the pending motions (a) regarding Rule 11 sanctions
 (Docket # 107) and (b) for reconsideration of the denial of the motion to compel
 arbitration. (Docket # 110.) My previous scheduling order is hereby revoked and
 replaced by the following.

       2.     Defendant may file a supplementary brief (NTE five pages, plus
 relevant evidentiary excerpts) related to the Rule 11 motion. The substance of the
 supplementary brief will be limited to the deposition of Mr. George that Defendant
 conducted last week.

       3.     Plaintiff’s responses to both motions (you can file separate briefs (NTE
 25 pages) or a single omnibus response (NTE 30 pages) plus relevant evidentiary
 excerpts at your option) will be due by Tuesday, May 20.

        4.    Defendant’s option reply submissions (separate briefs (NTE 10 pages)
 or a single omnibus response (NTE 15 pages)) will be due by Wednesday, May 29.

       5.     I’ll hold a video hearing on the motions on Wednesday, June 4, at
 10:30 a.m.

                                           ***

        6.    Additionally, if Plaintiff wishes to move to amend the complaint, I’ll
 relieve them of compliance with L.R. 7 and expedite consideration of the matter.
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 Any motion plus a copy of the relevant proposed amended complaint – in clean and
 redlined format to facilitate review – will be filed no later than Friday, May 2.
 Defendant may file an opposition or statement of non-opposition by Friday, May 9.
 Depending on the nature of the filings, the parties are informed that I may resolve
 this matter on the papers without hearing.

          7.   The JAMS staff are directed to file a copy of this order with the district
 court.


 Dated: April 30, 2025                                 /s/ Judge Wilner
                                                 _____________________________
                                                 Hon. Michael R. Wilner (Ret.)
                                                 Special Master




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